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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                CASE NO.: 4:06-CR-024-SPM

JOSE LUIS LEDESMA,
and
HARY JOSUE GONZALEZ QUEZADA

     Defendants.
_______________________________/

                         FINAL ORDER OF FORFEITURE

       THIS CAUSE CAME before the court on the Motion of the United States of

America for a Final Order of Forfeiture (doc. 88). Being fully advised in the

premises, the Court finds as follows:

       WHEREAS, on September 26, 2006, this Court entered a Preliminary Order

of Forfeiture of Defendant’s interest in $4,000.00 in U.S. Currency, pursuant to the

provisions of 21 U.S.C. § 853, based upon the Forfeiture Count of the Indictment;

and

       WHEREAS, on October 20, 2006, the United States of America caused to

be published in the Suwannee Democrat, a newspaper of general circulation, notice

of this forfeiture and the intent of the United States of America to dispose of the

property, in accordance with the law, and further notifying all third parties of their
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right to file a petition setting forth their interest in said property, and

       WHEREAS, no persons or entities having an interest in the above-referenced

property have timely filed petitions, it is hereby

       ORDERED, ADJUDGED and DECREED that the right, title and interest to the

above-referenced property, is hereby condemned, forfeited and vested in the United

States of America, and shall be disposed of in accordance with the law.

       DONE AND ORDERED this twenty-fifth day of February, 2008.




                                        s/ Stephan P. Mickle
                                      Stephan P. Mickle
                                      United States District Judge




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